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EXHIBIT 21

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RABBI ISRAEL SHAYAH KIVELEVITZ
778 Empire Avenue ® Far Rockaway, N.Y. 11691
Tel (718) 868-0181 -

5/13/2021

The Honorable Brian Cogan
United States District Court
Eastern District of New York
225 Camdan Plaza East
Brooklyn, NY 11201

Re: United States v. Aaron Weinreb
Docket No: 1 -20-cr-00006-BMC

Dear Judge Cogan,

I, Shaya Kivelevitz, have known Dr. Aaron Weinreb since he contacted me in
November 2019, shortly after his arrest seeking a Rabbi to guide him after the
devastating hurt he had caused to others and to himself. He was seeking a new
spiritual way, devoid of his own influence, to re-begin. Although I have never
met Aaron before, I committed to him and I have since spent the last 16 months
studying Torah daily with this beautiful precious Jewish soul.

From three weeks after his arrest, we began a study plan of introspection and
recognition and acknowledgement of one’s actions through the study of classic
Jewish texts which embody our heritage. We have met several times a week when
possible, at his parent’s home where he has been under home incarceration.

Over the last year and a half, we have together studied in depth large bulks of
three classical Jewish texts: “Sharay Teshuva” (Gates of Repentance,) a classic
Medieval work on the fundamentals of repentance and introspection; “Chovos
Halevovos”’ (Duties of the Hearts, ) a classic work from the Eleventh Century on
the topic of faith and trust in G-d; and thirdly, the book of “Psalms” which
exemplifies our outpouring due to G-d Almighty,
In the time that I have been with Ari, | have seen a transformative growth in his
awareness of his circumstances. He has used this time to self improve on his
character and truthfully evaluate every aspect of his previous thinking and actions.
He lives with a concrete resolution to make amends, be proactive in all aspects of
his spiritual living and mentor and help other people.

In lengthy, frankly raw and honest discussions with Ari, I believe that he now sees
that his painful isolation from his former surroundings has in fact been for his
benefit. | am confident that Ari has fully reevaluated the proper perspectives of
life with his duties to his Creator.

Please have mercy on Ari in your sentencing. I can attest to all that he has already
suffered and to how much he has rehabilitated himself. He is certainly ready to
rejoin the world as the truly spiritual person that he has become. I am certain that
individuals and groups will see him as an example of faith and to appreciate the
blessings that the Almighty has bestowed upon us in His unique ways.

Respectfully,

Rabbi Shaya Kivelevitz

From the desk of Rabbi Aaron Kagan

The Honorable Brian Cogan
Unites States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

5/03/2021

RE: UNITED STATES v. AARON WEINREB
Docket NO.: 1 -20-cr-00006-BMC

Dear Judge Cogan,

Lam a former Dean of a Jewish Learning Institution in Pennsylvania and currently living in
Lawrence, NY. Of the many projects I am currently involved in, one that is most rewarding to
me is one-on-one studying of Torah with partners of high caliber and intellect.

A year and a half ago, I was forwarded an email by a member of this community that there was
someone of such characteristics in need of and asking for a Chavruta/Torah study partner.

When I replied to the originator of the request, Aaron Weinreb - although I didn’t know his
name at the time, - informed me that was unable to leave the house as he was under house arrest.
He did not provide details, but said “I did something terrible and disgusting, which Iam
embarrassed of, but as I am a religious Jew I would like to study Torah”. | did not press for any
details and we began a study session of Talmud for approx. 2 hours daily. Over the past 1 %
years, I slowly learned more about his crime, and the circumstances, but more importantly learnt
the most about who Ari really is.

In the course of my career as Dean of the Kollel Jewish Learning Center in Pittsburgh, I have
counseled and met many individuals. As my relationship with Ari developed, my role as a
former rabbi fully returned. Throughout our lessons, frequently speak with Ari about his moral
behavior and growth, the appropriate pathway of his repentance, and his reaction to the events
and people in his life. Ari has always stated his remorse and the fact that he is to blame for his
actions. He has fully come to terms with it’s consequences and recognizes the damage, grief,
shame, and hurt, he has caused to his victim and his own family, wife, and children.

Ari is a highly intelligent human being who is dealing with some really tough issues. All of this
would be enough to take anyone out psychologically. Yet overall, Ari has not allowed it to take
him out, but has worked on himself to repent and stay strong. He has both recognized the moral,
legal, and base nature of his actions; along with his responsibility and ownership of the
consequences. He has been fully motivated to become a better person and grow from this
experience.
From the desk of Rabbi Aaron Kagan

L remain impressed by his daily schedule. At no time has he let himself fall into depression, nor
has he allowed himself to languish under his house arrest -wasting time watching TV and the
like. Rather he has kept a full daily schedule of study partners, therapy, and growth; keeping
himself active and positive. In addition to the time I spend with him, I am aware and have
personally seen numerous other rabbinic teachers, mentors and friends that continuously visit
with Ari, in an ongoing effort to bolster his personal drive for growth and repentance.

To the extent of my knowledge, his actions subsequent to his arrest, have been the most positive,
well meaning and with the best of intentions. I cannot identify any legal or other steps that he
has taken- that have been done out of anger, vengeance, or without a lack of awareness of his
responsibility and role in this.

Ladmire Ari’s resolve, impressed by his self-awareness, and touched by his sincerity.

He has taken responsibility for his actions and used the time to grow and become a better
person, I believe that he has demonstrated the path of a true penifent and is worthy of the court’s
mercy.

Please, in light of all the above and, on behalf of myself and the entire community, we ask for
leniency in his sentencing.

Feel free to contact me.

RN

Aaron Kagan
Former Dean, Kollel JewishN\earning Center of Pittsburgh.
Mobile Phone: 412-779-5485

Rabhi Shaya Heimlich
Congregation Adir Eliezer
828 Dorian Ct.

Far Rockaway, NY 11691

The Honorable Brian Cogan

United States District Court Eastern District of New York
225 Cadman Plaza East

Brooklyn, NY 11201

04/14/2021 RE: UNITED STATES v. AARON WEINREB
Docket No.: 1:20-cr-00006-BMC

Dear Your Honor,

lam nota childhood friend of Aaron Weinreb, nor is my wife or any member of my family. |
am not a member of the congregation that he or his family attended. Our children did not
attend the same schools. So why am | writing this letter? And who am I? Why have | become
so intimately involved this past year and a half in the life and well-being of Aaron Weinreb?

Let me explain: In November 2019, | was asked by a community member to visit and
encourage a well known Obstetrician-Gynecologist physician who had just been arrested for
a serious crime. Please bear in mind that this was weeks before Aaron’s story had officially
become public on the Internet, and when | finally agreed to visit, | did not know who | was
going to encounter,

Arriving at his home, | met a broken man who with tears in his eyes humbly told me, “4
committed a terrible crime and !’m going out of my mind. | need to study with someone how to
get closer to God and how to repent.” |sawa man full of shame. | saw his deep regret; not
for the fact that he got caught, but rather for what he had done.

Seeing the sincerity of this person, | started befriending him and studying with him all that |
knew about what the Jewish Holy Books say about repenting. As | got to know Ari, |
discovered a beautiful person who struggled his entire life with deep issues about his
sexuality, and despite this fact, he had tried in every way to live his life with the value of the
Torah to the fullest of his ability.

Over the last one and a half years, | have spent countless hours studying with, counseling
and speaking frankly and openly with Ari. We have committed to and spent time with each
other, day after day, studying Jewish texts, whether by phone, at his parents’ dining room
table and weather-permitting, out in the backyard, All this was done to work around his
home confinement conditions. Together we have gone through books of the Mishnah, tens
of chapters of Psalms and its multiple commentaries, and on our second cycle of reviewing
the weekly Torah portion reading.

No matter what the subject of our studies, Ari would always connect our topic to the
literature of his 12 step recovery program. Ari lives by its principles and, together, we have
discovered myriads of passages of scripture and Judaic teachings that became a
springboard for discussion about recovery and spiritual growth. | must say, that through Ari,
| have practically absorbed all the principles of the 12 step recovery without having ever
attended a meeting.

it has truly been a rewarding experiencing having spent all this time with Aaron Weinreb.
('m glad to report that, now so many months later, Ariis a fully repented person. He is
closer to G-d than most people will ever be. | truly believe that he has fully traveled the road
of recovery and entered a place of deep spirituality, as described in both, the teachings of
our ancient holy Jewish texts and those of contemporary recovery literature,

Your honor, it could happen that a person loses his career. It could happen that person
loses his prestige. It could happen that a person loses his money. It could happen that a
person losses his house. It could happen that a person loses his wife of many years. It could
happen that a person’s relationship with his children become interrupted. It could happen
that a person loses his freedom. Human beings can maybe handle one of them at a time, but
for everything to come crashing down all at once, is really unbearable.

Ari has sustained all of the above and humbly accepted every loss as his own doing . He
accepts responsibility for his actions and blames no one but himself. Rather than stewing in
self-pity, he has spent countless hours with me and so many others with the only goal of
bettering himself as a way of making a living amend to others.

With the grace of the Almighty, it is my fervent hope that you please extend mercy,
compassion and understanding to Ari. | can write so much more of the remorse he has
shown, the undue suffering he has endured, and the recovery and spiritual work he has
done; instead I’ll leave my phone number (347-303-5553.) Please feel free to call me, so | can
tell you so much more firsthand.

Thank you for ydur cons{deration,
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Rabbi Shaya Heimlich

Congregation Aish Kodesh
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RABBI MOSHE WEINBERGER

The Honorable Brian Cogan
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11204

RE: UNITED STATES v, AARON WEINREB Docket No.: 1:20-cr-00006-BMC

April 8, 2024

Dear Hon. Judge Brian Cogan,

My name is Moshe Weinberger, Rabbi of Congregation Aish Kodesh in Woodmere, Long Island.

Aaron Weinreb has been a devoted member of this congregation for close to 20 years. During this period, he
exemplified all of the characteristics of the most sincere, authentic representative of all that Judaism regards as holy
and sacred. He faithfully attended all services, Torah lectures, and played a vital role in our vibrant community. In
addition, he was always at the forefront of every charitable project and spearheaded many successful drives fo help
the needy and deprived, As a well-respected physician, he offered his advice and services without charge to many
individuals who couldn't afford insurance and proper medical coverage. As his Rabbi, | know all of this, and much
more, firsthand.

Above all, Aaron personified the dedicated father, and, together with his wife, raised a truly G-d fearing wonderful
family that is the pride of our community.

Tragically, Aaron capitulated to the deep struggles that had been haunting him since his youth. While under house
arrest, though not able to physically attend our congregation, he has continued to contact me for spiritual guidance in
navigating his path towards true repentance, and through his unfortunate divorce, in a way most respectful to his ex-
wife and children.

in many conversations with Aaron, | am personally aware of all the efforts that Aaron has made this past year,
including his 12-step addiction work and therapy, and his spiritual growth through the study of Torah. | admire his
dedication and resolve.
While | am not, G-d forbid , exonerating or excusing any wrongdoing on his part, | am pleading that this man’s life be
viewed in it's entirety; that it be understood that his recent moral failure does not define the essence of the person |
have loved and respected for so many years. He is a man who has made great, even heroic sacrifices for hundreds,
if not thousands of people, including many complete strangers.

May G-d have mercy on him and on all of us,

“Respectfully,

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